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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: BABY FOOD MARKETING, SALES PRACTICES
AND PRODUCTS LIABILITY LITIGATION (NO. II)                                            MDL No. 3101


                                       TRANSFER ORDER


         Before the Panel:* Plaintiffs in four actions 1 move under 28 U.S.C. § 1407 to centralize
this litigation in the District of Nevada, the Northern District of California, the Central District of
California, or the Eastern District of Louisiana. This litigation consists of ten actions pending in
six districts, as listed on Schedule A. In addition, the parties have informed the Panel of fifteen
related actions pending in nine districts. 2

        All responding plaintiffs support centralization. Most of these plaintiffs additionally
suggest the Western District of Missouri as the transferee district for this litigation. In contrast,
all responding defendants oppose centralization. Defendants Beech-Nut Nutrition Company,
Campbell Soup Company, Gerber Products Company, Hain Celestial Group, Inc., Nurture, LLC,
Plum PBC, Sprout Foods, Inc., and Walmart, Inc., all suggest, in the alternative, the Southern
District of New York as the transferee venue for any MDL. Nurture also argues, in the alternative,
that any MDL should include the Eastern District of Louisiana Watkins action (one of the fifteen
related actions). Defendants Amazon.com Services, LLC, and Whole Foods Market Services, Inc.,
oppose inclusion of Watkins in any MDL. 3 These two defendants also alternatively suggest the
Eastern District of Louisiana or the Southern District of Texas as the transferee district.

        On the basis of the papers filed and the hearing session held, we find that the actions listed
on Schedule A involve common questions of fact, and that centralization in the Northern District
of California will serve the convenience of the parties and witnesses and promote the just and
efficient conduct of this litigation. Plaintiffs in each action, who are minors, allege they were


* Judge Nathaniel M. Gorton did not participate in the decision of this matter.
1
 Movants include plaintiffs in the Northern District of California A.A. case, the Central District of
California M.H. and D.S. cases, and the Western District of Washington Mosely case.
2
 These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1,
and 7.2.
3
  Moving plaintiffs initially requested that Watkins be excluded from any MDL, but at oral
argument counsel indicated that all plaintiffs now support inclusion of Watkins.
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                                                 -2-

exposed to elevated quantities of toxic heavy metals (namely, arsenic, lead, cadmium, and
mercury) from consuming defendants’ baby food products and, as a result, suffered brain injury
that manifested in diagnoses of autism spectrum disorder (ASD) and/or attention deficit
hyperactivity disorder (ADHD). All actions share common issues of fact regarding the presence
of heavy metals in defendants’ products, their knowledge of and testing for heavy metals in their
products, whether the presence of these heavy metals could have caused plaintiffs’ alleged injuries,
and whether defendants adequately warned of the presence of heavy metals in their products.
Further, plaintiffs allege that defendants to date have presented a unified defense of these actions,
including overlapping defenses and motion practice. Centralization will eliminate duplicative
discovery; prevent inconsistent pretrial rulings; and conserve the resources of the parties, their
counsel, and the judiciary.

        The opponents of centralization argue that each defendant manufactures, markets, and
distributes its own baby food products subject to different manufacturing processes, suppliers, and
quality control procedures. Undoubtedly, there will be significant differences between the claims
against each defendant. But a complete identity or even a majority of common factual or legal
issues is not a prerequisite to transfer under Section 1407. See In re Darvocet, Darvon &
Propoxyphene Prods. Liab. Litig., 780 F. Supp. 2d 1379, 1381 (J.P.M.L. 2011). There likely will
be overlap in the discovery as to the defendants, who plaintiffs allege had “co-manufacturing”
agreements as to their baby food products and shared third-party testing agencies. Common expert
discovery, as to both plaintiffs and defendants, also is probable. Centralization will facilitate a
uniform and efficient pretrial approach to this litigation, eliminate duplicative discovery, prevent
inconsistent rulings on expert testimony and other pretrial issues, and conserve the resources of
the parties, their counsel, and the judiciary. Cf. In re Hair Relaxer Mktg., Sales Pracs., & Prods.
Liab. Litig., 655 F. Supp. 3d 1374, 1376–77 (J.P.M.L. 2023) (centralizing actions involving
multiple competing defendants who sold different lines of products).

         Defendants further contend that much of the common discovery has already been
completed in two prior cases (a California state court action and a Texas federal action). Plaintiffs,
though, convincingly argue that additional discovery will be necessary as to products not at issue
in those two actions. Centralization will eliminate any potential for duplicative discovery and
inconsistent pretrial rulings (particularly with respect to expert admissibility and other dispositive
issues).

         We previously denied a motion to centralize numerous economic loss class actions
involving similar claims relating to baby foods. See In re Baby Food Mktg., Sales Pracs. & Prods.
Liab. Litig., 544 F. Supp. 3d 1375 (J.P.M.L. 2021). Most of the actions on that motion, however,
named only a single defendant and, critically, most were filed in or had been transferred via Section
1404 to the district where that defendant was headquartered. Id. at 1377–78 (“We believe it is
better to allow the parties’ attempts to self-organize play out before centralizing any part of this
litigation.”). Here, in contrast, the actions on the motion all present personal injury claims, and all
but one is brought against multiple manufacturers. And there are now 25 related actions pending
in eleven districts involving multiple different plaintiffs’ counsel. In these circumstances, we are
not convinced that alternatives to centralization—such as informal cooperation between the parties
and coordination among the involved courts—are preferable to centralization.
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                                                -3-

        We do not discount the case management-related complexities that a multi-product and
multi-defendant MDL such as this may entail. But in the circumstances presented here,
centralization under Section 1407 is the best course for all the actions. As we repeatedly have
stated, a transferee judge can employ any number of techniques, such as establishing separate
discovery and motion tracks, to manage pretrial proceedings efficiently. If, after close
examination, the transferee judge determines that Section 1407 remand of any claims or actions
involving a particular defendant or product is appropriate, procedures are available to accomplish
this with minimal delay. See Panel Rules 10.1 to 10.3.

       The parties’ arguments as to inclusion of the Eastern District of Louisiana Watkins action
are premature as that action is not on the motion before us. See In re DePuy Orthopaedics, Inc.,
Pinnacle Hip Implant Prods. Liab. Litig., 787 F. Supp. 2d 1358, 1360 (J.P.M.L. 2011). Should
the Panel issue an order conditionally transferring Watkins to the MDL, the parties at that time
may move to vacate the conditional transfer order. See Panel Rule 7.1.

        The Northern District of California is an appropriate transferee district for this litigation.
Five of the actions (including potential tag-along actions) are pending in this district, which
provides a convenient and accessible location for this nationwide litigation. Additionally,
centralization in this district will facilitate coordination with the ongoing California state court
baby food litigation. We assign this litigation to the Honorable Jacqueline Scott Corley, an
experienced jurist who we are confident will steer this litigation on a prudent and expeditious
course.

       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of California are transferred to the Northern District of California and, with
the consent of that court, assigned to the Honorable Jacqueline Scott Corley for coordinated or
consolidated pretrial proceedings.

        IT IS FURTHER ORDERED that MDL No. 3101 is renamed In re: Baby Food Products
Liability Litigation.


                                           PANEL ON MULTIDISTRICT LITIGATION




                                                          Karen K. Caldwell
                                                              Chair

                                       Matthew F. Kennelly                David C. Norton
                                       Roger T. Benitez                   Dale A. Kimball
                                       Madeline Cox Arleo
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IN RE: BABY FOOD MARKETING, SALES PRACTICES
AND PRODUCTS LIABILITY LITIGATION (NO. II)                         MDL No. 3101


                                   SCHEDULE A


                 District of Arizona

     CLARK v. HAIN CELESTIAL GROUP INCORPORATED, ET AL.,
         C.A. No. 2:23−02607

                 Central District of California

     D.S. v. HAIN CELESTIAL GROUP, INC., ET AL., C.A. No. 2:23−10193
     M.H. v. HAIN CELESTIAL GROUP, INC., ET AL., C.A. No. 8:23−02203

                 Northern District of California

     A., ET AL. v. HAIN CELESTIAL GROUP, INC., ET AL., C.A. No. 3:23−06087
     V.Z. v. GERBER PRODUCTS COMPANY, C.A. No. 3:23−06324
     A.T. v. GERBER PRODUCTS COMPANY, ET AL., C.A. No. 3:23−06344

                 Western District of Missouri

     H.N. v. GERBER PRODUCTS COMPANY, ET AL., C.A. No. 4:23−00942

                 District of Nevada

     P., ET AL. v. BEECH-NUT NUTRITION COMPANY, INC., ET AL.,
            C.A. No. 2:23−00344
     MAGLINTI, ET AL. v. BEECH-NUT NUTRITION COMPANY, INC., ET AL.,
            C.A. No. 2:23−02121

                 Western District of Washington

     MOSLEY v. HAIN CELESTIAL GROUP, INC., ET AL., C.A. No. 3:23−06176
